       Case 1:10-cr-00097-SM     Document 19     Filed 10/04/10   Page 1 of 2



                     UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF NEW HAMPSHIRE


United States of America,
      Plaintiff

                v.
                                             Case No. 10-cr-97-01/02/03-SM

Richard Webster, Ronald Martel,
and Garth Martel,
      Defendants

                                    ORDER


      Defendant Webster’s motion to continue the final pretrial conference and

trial is granted (document no. 32). Trial has been rescheduled for the December

2010 trial period. Defendant Webster shall file a waiver of speedy trial rights

not later than October 12, 2010. On filing of such waiver, his continuance shall

be effective.

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial,

18 U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny the defendants the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances.
      Case 1:10-cr-00097-SM    Document 19    Filed 10/04/10   Page 2 of 2




      Final Pretrial Conference is rescheduled for November 22, 2010 at

3:30 p.m.

      Jury selection will take place on December 7, 2010 at 9:30 a.m.



      SO ORDERED.




                                       StevenJ . McAuliffe
                                          Chief Judge


October 4, 2010

cc:   Jessica C. Brown, Esq.
      Jaye Rancourt, Esq.
      Robert S. Carey, Esq.
      Donald A. Feith, AUSA
      U.S. Marshal
      U.S. Probation




                                       2
